       Case 1:25-cv-00301-ACR         Document 1-1       Filed 01/31/25      Page 1 of 4




October 7, 2024

U.S. Department of Defense
U.S. Air Force
Eglin Air Force Base Library

RE: FREEDOM OF INFORMATION ACT REQUEST

BACKGROUND:

Dear FOIA Officer:

This letter constitutes a request under the federal Freedom of Information Act (FOIA), 5 U.S.C.
§ 552. Recent images show LGBTQ+ reading material in the Eglin Air Force Base Library and a
promotional display encouraging its content. Despite these texts being banned from libraries due
to their pornographic content, the material was featured on display and made accessible to
children.

The information obtained is necessary to provide oversight and transparency into the materials
publicly made available to the Eglin Air Force Base Library.

RECORDS REQUEST:

CASA requests records created from May 15, 2024, to when the search is conducted of:

1. Communications to, from, or received by Tiffany Fidler, Elizabeth Cauffman, Erika
   Patterson, Megan Farrar, and Tony Bandy containing the following phrases and/or words:
   “Eglin Air Force Base”, “Eglin AFB”, “Pride Month”, “Gender Queer”, “This Book is Gay”,
   “The WORST thing about censoring what someone can read is…”, “Freed between the
   lines”, “censored”, “challenged”, “banned”, “Let’s Talk About it”, “All Boys Aren’t Blue”,
   “Flamer”, “Sold”, “Tricks”, “Me and Earl and the Dying Girl”, “The Perks of Being a
   Wallflower”, “The Bluest Eye”, “library”, “LGBTQ+ books”, “LGBTQ+ library”, “pride”,
   “transgender”, “queer” and “AFB Pride”.

2. Records possessed or created by Tiffany Fidler, Elizabeth Cauffman, Erika Patterson, Megan
   Farrar, and Tony Bandy including records of meeting requests, virtual meeting invitations,
   call logs and any chats in the relevant virtual platforms (e.g., Microsoft Teams, Zoom,
   Webex, etc.), related to LGBTQ+ books in AFB libraries.

3. Calendar entries from Tiffany Fidler, Elizabeth Cauffman, Erika Patterson, Megan Farrar,
   and Tony Bandy related to LGBTQ+ books in AFB libraries.
       Case 1:25-cv-00301-ACR          Document 1-1        Filed 01/31/25      Page 2 of 4




4. Communications regarding LGBTQ+ books in AFB libraries by and between one or more of
   the following people: Tiffany Fidler, Elizabeth Cauffman, Erika Patterson, Megan Farrar,
   and Tony Bandy and any of the following email domains:
       • Politico (@politico.com)
       • Military Times (@militarytimes)
       • New York Times (@nytimes.com)
       • Washington Post (@washingtonpost.com)
       • NBC News (@nbcnews.com)
       • ABC News (@abcnews.com)
       • LA Times (@latimes.com)
       • CBS News (@cbsnews.com)
       • Fox News (@foxnews.com)
       • Wall Street Journal (@wsj.com)
       • USA Today (@usatoday.com)
       • Vanity Fair (@vanityfair.com)
       • CNN (@cnn.com)
       • Associated Press (@ap.com)

5. Communications exchanged between one or more of the following people: Tiffany Fidler,
   Elizabeth Cauffman, Erika Patterson, Megan Farrar, and Tony Bandy and anyone identified
   as an employee, agent, consultant, or representative of one of the following organizations:
       • U.S. Air Force (@us.af.mil)
       • Office for Intellectual Freedom, American Library Association (oif@ala.org)

“Records” means any item, collection, or grouping of information. For purposes of this request,
this includes any personal email messages, telephone voice mails or text messages, and internet
‘chat’ or social media messages, as well as any attachments to such documents or information.

We prefer to receive the report and all records in electronic format. To the extent practicable, we
seek electronic copies of the records in native file format, or, if that is not practicable, with
full metadata for all fields. 5 U.S.C. § 552(a)(3)(B) (agency shall provide records in any form or
format if the record is readily reproducible in that form or format).

The Center to Advance Security in America (CASA) is a nonpartisan organization dedicated to
improving the safety and security of the American people. CASA educates and informs the
American people about the actions of their government and its officials that impact their safety;
peace and security; democracy, civil rights, and civil liberties; and privacy.

CASA is focused on public education, and all materials and information requested will be
disseminated to the public for this purpose. Thus, the disclosure of the requested records would
not be to our primary benefit but would be to the primary benefit of the general public. Further,
these records focus on an issue of widespread public interest: records and communications by
and between Eglin AFB Library staff regarding the pornographic books that are potentially being
       Case 1:25-cv-00301-ACR           Document 1-1         Filed 01/31/25      Page 3 of 4




made available at their library. For these reasons, we request a fee waiver pursuant to the FOIA
Act, which provides for fee waivers when: (1) “disclosure of the requested information is in the
public interest because it is likely to contribute significantly to public understanding of the
operations or activities of the government”; and (2) disclosure “is not primarily in the
commercial interest of the requester.” 5 U.S.C. § 552(a)(4)(A)(iii); see also see 40 C.F.R. §
2.107(l)(1).

Moreover, CASA is a representative of the news media for purposes of FOIA. See 5 U.S.C. §
552(a)(4)(A)(ii); see also Cause of Action v. Federal Trade Commission, 799 F.3d 1108, 1120
(D.C. Cir. 2015). To wit, CASA is an entity that gathers information, including through FOIA
requests such as this one, that is of interest to at least a segment of the population. For example,
CASA has launched investigations into the Department of Homeland Security’s reference to
“false or misleading narratives,” which is of interest to Americans concerned about civil
liberties, and the meaning of a “diplomatic boycott” of the 2022 Olympic Games, which is of
interest to people concerned about human rights and America’s relationship with China. See
CASA Press Releases, https://advancing-america.org/category/press-releases/.

CASA also takes the information it gathers and uses its editorial skills to turn it into distinct
works, which are then distributed to an audience. For example, CASA has already produced
several op-eds, see CASA Op-eds, https://advancing-america.org/category/op-eds/, and has
provided editorial commentary that has been cited in multiple media reports. See CASA Media,
https://advancing-america.org/category/media/. Going forward, CASA intends to continue to
gather information, use its editorial skill to turn that information into distinct works, including,
but not limited to, press releases, editorial comments to other publications, op-eds and other
written works, and social media engagement. See Cause of Action, 799 F.3d at 1122 (“A
substantive press release or editorial comment can be a distinct work based on the underlying
material, just as a newspaper article about the same documents would be — and its composition
can involve ‘a significant degree of editorial discretion.’”) (quoting Nat. Sec. Archive v. U.S.
Dept. of Defense, 880 F.2d 1381, 1387 (D.C. Cir. 1989)). At minimum, CASA will post distinct
works on its website and email them to email list subscribers. CASA will also work with an
ever-growing list of journalists to reach its audience. For these reasons, at minimum CASA
qualifies for a waiver from search and production costs as a representative of the news media.

If this request is denied in whole or part, please justify all such denials by reference to specific
exemptions, and provide an explanation of why the U.S. Air Force “reasonably foresees that
disclosure would harm an interest” protected by that exemption or why “disclosure is prohibited
by law[.]” 5 U.S.C. § 552(a)(8). Please also ensure that all segregable portions of otherwise
exempt material are released.
       Case 1:25-cv-00301-ACR           Document 1-1       Filed 01/31/25      Page 4 of 4




If you have any questions regarding this request, please feel free to contact me at
james@advancing-america.org.

CASA looks forward to your determination within 20 working days of this request, as is required
by FOIA. 5 U.S.C. § 552(a)(6)(A)(i). Thank you in advance for your assistance in this matter.


Sincerely,


James Fitzpatrick
Director
Center to Advance Security in America
1802 Vernon Street NW
PMB2095
Washington, DC 20009
United States
